          Case 1:20-cv-06539-JMF Document 179 Filed 12/04/20 Page 1 of 1



      quinn emanuel            trial lawyers | new york
      51 Madison Avenue, 22nd Floor, New York, New York 10010-1601 | TEL (212) 849-7000 FAX (212) 849-7100




                                                                                                    WRITER'S DIRECT DIAL NO.
                                                                                                              (212) 849-7341

                                                                                                  WRITER'S EMAIL ADDRESS
                                                                                    benjaminfinestone@quinnemanuel.com


December 4, 2020

VIA ECF

Hon. Jesse M. Furman
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:     In re Citibank August 11, 2020 Wire Transfers, Case No. 20-cv-06539 (JMF)



Dear Judge Furman:

I write on behalf of Defendants in the above-referenced case, with respect to the Court’s order
dated December 2, 2020. (ECF No. 177.) Eight of the ten named Defendants are completely
diverse with Plaintiff, Citibank, which is alleged to be organized under the National Bank Act
with its main office located in South Dakota. (ECF No. 1 at ¶8).

With respect to two of the named Defendants, Bardin Hill Loan Management LLC and HPS
Investment Partners, LLC, the diversity analysis is not complete. These two defendants each
have an indirect member, an investment fund managed by a third party, which, in each case, is
itself a limited partnership with many investors, certain of which are limited liability companies
or limited partnerships. The review therefore remains pending. Thus far, no South Dakota
citizens have been discovered.

Respectfully submitted,

/s/ Benjamin I. Finestone

Benjamin I. Finestone




      quinn emanuel urquhart & sullivan, llp
      LOS ANGELES | NEW YORK | SAN FRANCISCO | SILICON VALLEY | CHICAGO | WASHINGTON, DC | HOUSTON | SEATTLE | BOSTON | SALT LAKE C ITY
      LONDON | TOKYO | MANNHEIM | HAMBURG | PARIS | MUNICH | SYDNEY | HONG KONG | BRUSSELS | ZURICH | SHANGHAI | PERTH | STUTTGART
